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                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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Jeﬀerson County bail reforms aimed at keeping
poor out of jail

      By Kent Faulk | kfaulk@al.com
      Email the author | Follow on Twitter
      on May 10, 2016 at 5:52 PM, updated May 10, 2016 at 7:51 PM



Jeﬀerson County has made a few changes to its bail bond system that should prevent poor defendants from having to stay weeks
or even months in jail while waiting for the help of an attorney to get their bond reduced.

Oﬃcials with the American Civil Liberties Union applauded the changes on Tuesday, saying the new process will drastically
change courts' treatment of defendants who can't aﬀord bail or an attorney. The groups says this new procedure will insure for
the ﬁrst time in Alabama that indigent defendants will be provide legal representation at bail hearings.

"For decades, Birmingham's courts have condemned people to extra jail time just because they're poor," Brandon Buskey, staﬀ
attorney with the ACLU's Criminal Law Reform Project stated in a press release. "Defendants charged with the same exact crime
can either buy their freedom immediately or sit in jail for weeks on end if (they) don't have enough money. The judges' reforms
will bring a welcome end to this injustice."

Under the new system as of June 6, defendants who are unable to pay the bail amounts assigned to their oﬀenses will receive a
bail hearing within 48 to 72 hours of their arrest, in contrast to the weeks and sometimes months that defendants now spend in
jail awaiting a bail hearing, according to the ACLU.

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The ACLU had been working with the Jeﬀerson County judges, the Community Law Oﬃce (public defenders), and the Jeﬀerson
County District Attorneys Oﬃce since last August or September on a new way of protecting poor defendants from being held in
jail on bonds they can't aﬀord, Randall Marshall, legal director for ACLU of Alabama, said in an interview with AL.com on Tuesday.



  http://www.al.com/news/birmingham/index.ssf/2016/05/jefferson_county_bail_reforms.html                                      1/3
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The ACLU had threatened to sue over the issue.

Presiding Jeﬀerson County Circuit Judge Joseph Boohaker signed the order to start the procedures for the 48‑hour hearings on
May 6.

If arrested without a warrant then defendants must have a hearing within 48 hours. If arrested on a warrant they have to be
brought for an initial appearance before a judge within 72 hours.

Under the current system poor people who can't immediately make bond are held until a ﬁrst court appearance within the 48 or
72 hour period, but at those hearings the judge didn't usually discuss bond and it would sometimes be weeks or months until a
defendant could get an attorney to ﬁle a motion and go through a hearing process in order to get a reduced bond and be released
from jail. But under the new system an attorney from the Community Law Oﬃce will be at every one of the hearings to seek bail
immediately.

If there is a conﬂict where the Community Law Oﬃce can't represent the person, the duty judge is to be notiﬁed of such a conﬂict,
according to Boohaker's order.

"We're extremely pleased. We've been advocating for these reforms for several years," said Jeﬀerson County Public Defender Kira
Fonteneau, who is over the Community Law Oﬃce. "We're glad that the judges have agreed to these procedures. ... This is a huge
deal."

Without an initial appearance where bond was set, defendants could get lost in jail for weeks or months, Fonteneau and ACLU
oﬃcials said. "These procedures lessen that risk," Fonteneau said.

Judge Boohaker in December also had issued another order that could make it easier for poor people to make bond. He issued an
order that increased the bail amounts in which a person can sign a recognizance bond and be release immediately without paying
any money up front.

The amount of bond for felony oﬀenses in which defendants could sign and be released on their own recognizance, the amount
was raised from $1,500 to $5,000; felony oﬀenses requiring the signature of an employed person, from $7,500 to $10,000; traﬃc
and misdemeanor oﬀense from $2,500 to $5,000; and traﬃc and misdemeanor oﬀenses requiring the signature of an employed
person was raised from $7,500 to $10,000.

Excluded are sex and domestic violence oﬀenses that fall in those categories.

Boohaker stated in his order that the purpose of making it easier for people to sign recognizance bonds was to assist with jail
overcrowding.

Jeﬀerson County Sheriﬀ's Chief Deputy Randy Christian stated in an email to Al.com Tuesday afternoon that the county jail
population ‑ in both Birmingham and Bessemer ‑ has had a daily inmate count that has remained consistent at 1000‑1100 over
the last 6 months.

Susan Watson, executive director of the ACLU of Alabama, said that their hope with the Jeﬀerson County reforms is that poor
people won't be "languishing" in jails while losing their jobs, homes, and families.

"It's certainly a large improvement and we're very appreciative to judges have worked with us," Watson said.

Watson urged other Alabama courts to make similar changes to their bail systems "so that they're no longer rigged against the
poor."




  http://www.al.com/news/birmingham/index.ssf/2016/05/jefferson_county_bail_reforms.html                                      2/3
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